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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

    In re:                                                                 Case No. 19-34574-KRH
                                       1
              LeClairRyan, PLLC,

              Debtor                                                       Chapter 7


                            PROPOSED AGENDA FOR HEARING ON
                    MAY 3, 2022 AT 11:00 A.M. (PREVAILING EASTERN TIME)

             Set forth below are the matters scheduled to be heard before the Honorable Kevin R.

    Huennekens, United States Bankruptcy Judge, in Room 5000, United States Courthouse, 701 East

    Broad Street, Richmond, Virginia 23219, on May 3, 2022, beginning at 11:00 a.m. via ZOOM:


             Registration Link:

    https://www.zoomgov.com/meeting/register/vJItceCvqj4tGSnXSN27CukxDLZTHKfY-cQ


             Listen-only conference line:
                    Dial: 1-866-590-5055
                    Access Code: 4377075
                    Security Code: 5322



        1.   Case Status and Report pursuant to Local Rule 2015-(a)-(1)(A)




    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


Paula S. Beran, Esquire (Va. Bar No. 34679)
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    Counsel for Lynn L. Tavenner, Chapter 7 Trustee
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                                        Respectfully submitted,

                                        LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

  Dated: May 2, 2022                    By: /s/ Paula S. Beran
  Richmond, Virginia                    Paula S. Beran, Esquire (VSB No. 34679)
                                        PBeran@TB-LawFirm.com
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                                        Richmond, Virginia 23219
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                                        Telecopier: (804) 783-0178

                                               Counsel for Lynn L. Tavenner, Chapter 7 Trustee

                                 CERTIFICATE OF SERVICE

         Pursuant to the Local Rules of this Court and applicable orders, I certify that on this 2nd
 day of May 2022, a true copy of the foregoing Agenda was sent electronically to all parties
 receiving ECF notices in this Case.

                                              /s/ Paula S. Beran
                                              Counsel for Lynn L. Tavenner, Chapter 7 Trustee




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